                                                              Case 2:21-cv-01102-DSF-MRW Document 62 Filed 05/18/22 Page 1 of 4 Page ID #:1846




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                                                                8
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                                                                9 JEFFREY B. SEDLIK
          CALIFORNIA ◆GEORGIA ◆FLORIDA ◆TENNESSEE ◆NEW YORK




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                                                                                       UNITED STATES DISTRICT COURT
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                                                               13                     CENTRAL DISTRICT OF CALIFORNIA
SRIPLAW




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                                                                    JEFFREY B. SEDLIK, an individual,              Case No.: 2:21-cv-01102-DSF-MRWx
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                                                               17                                 Plaintiff,       PLAINTIFF’S UNOPPOSED EX
                                                               18                                                  PARTE APPLICATION FOR ORDER
                                                                    v.                                             SHORTENING TIME TO HEAR
                                                               19                                                  PLAINTIFF’S UNOPPOSED MOTON
                                                               20   KATHERINE VON DRACHENBERG                      TO CONTINUE TRIAL AND
                                                                    (a.k.a. “KAT VON D”), an individual; et        ASSOCIATED PRETRIAL DATES
                                                               21   al.,
                                                               22                                                  Judge: Hon. Dale S. Fischer
                                                               23                              Defendants.         Date: N/A
                                                                                                                   Time: N/A
                                                               24                                                  Courtroom: 7D
                                                               25
                                                                                                                   Trial Documents (Set One): 6/7/22
                                                               26                                                  Trial Documents (Set Two): 6/14/22
                                                               27                                                  Current Pretrial Date: 6/27/22
                                                                                                                   Current Trial Date: 7/26/22
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                                                              Case 2:21-cv-01102-DSF-MRW Document 62 Filed 05/18/22 Page 2 of 4 Page ID #:1847




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                                                                2         TO THE HONORABLE COURT, ALL PARTIES AND THEIR RESPECTIVE

                                                                3 COUNSEL OF RECORD:
                                                                4     PLEASE TAKE NOTICE THAT Plaintiff Jeffrey B. Sedlik (“Sedlik” or

                                                                5 “Plaintiff”) hereby applies to this Court ex parte, pursuant to Local Rule 7-19, for an
                                                                6 order expediting the hearing of Sedlik’s Unopposed Motion to Continue Trial and
                                                                7 Associated Pretrial Dates (“Motion”). Sedlik requests that the Motion be heard on
                                                                8 May 23, 2022, at 1:30 p.m. Counsel for Defendants John Metzidis informed Counsel
                                                                9 for Sedlik that they will not oppose the Ex Parte Application for Shortening Time to
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                                                               10 Hear the Motion to Continue Trial and Associated Trial Dates and will also not
                                                               11 oppose the underlying Motion.
                                                               12      The Motion for which an expedited hearing is sought asks this Court to

                                                               13 continue the trial date and related pre-trial deadlines for 56 days. This motion is made
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                                                               14 on the grounds that until May 12, 2022 (ECF 58), Sedlik was represented by prior
                                                               15 counsel and prior counsel only filed their motion to withdraw on May 18, 2022. (ECF
                                                               16 60).
                                                               17         This Motion is further made on the grounds that Sedlik’s new counsel,

                                                               18 SRIPLAW PA, requires adequate time to prepare for this unique and complex case.
                                                               19 Further, Joel Rothman, partner at SRIPLAW, is planning to move for admission pro
                                                               20 hac vice to try the case and Defendants’ counsel does not oppose Rothman’s
                                                               21 application to appear pro hac vice. Rothman’s application requires certificates of good
                                                               22 standing from four jurisdictions which have been requested and the firm is awaiting
                                                               23 their receipt. Rothman is also on a preplanned vacation in Europe and does not return
                                                               24 until the end of May.
                                                               25        Per Local Rule 6-1 and the Court’s Local Rules the first day to hear the Motion

                                                               26 would be June 27, 2022, because June 20, 2022, is not available because the Court is
                                                               27 closed for Juneteenth. The Motion, if it is not heard on an expedited basis, would be
                                                               28 heard on the same date as the final pretrial conference on June 27, 2022, and 29 days


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                                                              Case 2:21-cv-01102-DSF-MRW Document 62 Filed 05/18/22 Page 3 of 4 Page ID #:1848




                                                                1 prior to the trial. For the reasons articulated above, shortened notice and an expedited
                                                                2 decision on the Motion are appropriate to allow the parties to adequately prepare for
                                                                3 trial.
                                                                4          Pursuant to Local Rule 7-19, Grossbardt hereby notifies the Court of the names
                                                                5 and contact information of counsel for Defendants:
                                                                6 Attorneys for Defendants KATHERINE
                                                                    VON DRACHENBERG
                                                                7 (a.k.a.“KAT VON D”), an individual;
                                                                    KAT VON D, INC., a California Corporation;
                                                                8 HIGH VOLTAGE TATTOO, INC.:
                                                                9 GRODSKY, OLECKI & PURITSKY LLP
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                                                               11 John J. Metzidis (SBN 259464)
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                                                               13 Los Angeles, California 90025
SRIPLAW




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                                                                  Facsimile: (310) 315-1557
                                                               15
                                                                          As indicated in the Declaration of Jonah. A. Grossbardt attached hereto,
                                                               16
                                                                  Defendant’s Counsel John Metzidis was notified on May 18, 2022, that Sedlik would
                                                               17
                                                                  seek to have the Motion heard on shortened time, and Mr. Metzidis indicated that he
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                                                                  did not oppose such request or oppose the underlying Motion. (Declaration of Jonah
                                                               19
                                                                  A. Grossbardt in Support of Ex Parte Application for Order Shortening Time
                                                               20
                                                                  (“Grossbardt Decl.”) ¶ 2).
                                                               21
                                                                          This Application is based on this Ex Parte Application, the Declaration of
                                                               22
                                                                  Jonah A. Grossbardt filed concurrently herewith, all of the pleadings, files and records
                                                               23
                                                                  in this proceeding, all other matters of which the Court may take judicial notice, and
                                                               24
                                                                  any argument or evidence that may be presented to or considered by the Court prior to
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                                                                  its ruling.
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                                                                1 DATED: May 18, 2022                 Respectfully submitted,
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                                                                3                                    /s/ Jonah A. Grossbardt
                                                                                                     JONAH A. GROSSBARDT
                                                                4
                                                                                                     SRIPLAW
                                                                5                                    Attorneys for Plaintiff Jeffrey B. Sedlik
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